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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

TRUSTEES OF THE PAINTERS
UNION DEPOSIT FUND, a Voluntary
unincorporated trust,                              Case No. 2:19-cv-12267
                                                   HON. Paul D. Borman
            Plaintiff,

v.

DEEPALI CO., LLC,

            Defendant.
__________________________________________________________________/
FINKEL WHITEFIELD SELIK
MARK MERLANTI (P35804)
Attorneys for Plaintiff
32300 Northwestern Highway, Suite 200
Farmington Hills, MI 48334-1567
248/855-6500
___________________________________________________________________/

      ORDER DISMISSING PLAINTIFF’S COMPLAINT WITHOUT
               PREJUDICE AND WITHOUT COSTS

      This matter having come before the Court pursuant to the Plaintiff’s request

at its Complaint be dismissed without prejudice and without costs,

      IT IS ORDERED that the Complaint filed by Plaintiff in this action is

dismissed without prejudice and without costs.

      SO ORDERED.

Dated: October 16, 2019                     s/Paul D. Borman
                                            Paul D. Borman
                                            United States District Judge
